 

, Case 2:04-cv-10344-SJO-JTL Bocument 3 Filed 01/04/05 Page 1of2 Page ID #20

oOo wm wa Do oo Be WS FH -

Bo Bo Nh NO RO Bh fh Bho Ro — — —_ —_ — — — _— _ —
oo ~~ Oo) on > oo RO = Qo eo c ~ a an > ww BO = oS

 

ORIGINAL [can eon

 

 

JAN - 4 2007 4
. wv z
. jorty CENTRA a
. . ond _L. ce waa DISTRICT OF CALIFORNIA =
"1.8 Enter —
Closed
19-5186 -————
1$-2/5S-3. ——
Scan Only ——
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
In re: ) NO. CV04-10344 SJO (JTLx)
)
THE ROMAN CATHOLIC CHURCH OF  }
DIOCESE OF TUCSON aka THE )
DIOCESE OF TUCSON, an Arizona ) ORDER TO SHOW CAUSE RE: Removal,
corporation sole, ) Related Cases and Transfer
)
Debtor. )
}
JOHN MM. DOE, an individual, )
)
Plaintiff, }
)
V. )
)
DOE 1; DOE 2; DOE 3; DOE 4; DOE 5; )
and DOES 6 through 100, inclusive, )
)
Defendants. )
)

 

 

 

"The notice of removal of a civil action or proceeding shall be filed within thirty days after
the receipt by the defendant, through service or otherwise, of a copy of the initial pleading setting
forth the claim for relief upon which such action or proceeding is based, or within thirty days after
the service of summons upon the defendant if such initial pleading has then been filed in court

and is not required to be served on the defendant, whichever period is shorter.” 28 U.S.C. §

 

1446(b). In the instant case, the Notice of Removal does not set forth facts indicating the

2

 

 
 

Case 2:04-cv-10344-SJO-JTL Document 3 Filed 01/04/05 Page 2of2 Page ID #:21

- * “

 

1|| timeliness of removal. The Removing Party is hereby ORDERED TO SHOW CAUSE, no later
2|| than January 11, 2005, as to why the case should not be REMANDED for lack of timeliness.

3 The Removing Party failed to file a Notice of Related Cases and failed to adequately
41 identify the nature of the related bankruptcy action. The Removing Party is hereby ORDERED
51 to file a Notice of Related Cases no later than January 11, 2005.
6 Whereas the Notice of Removal indicates there is a related proceeding now pending before
7|| the United States Bankruptcy Court for the District of Arizona, Tucson Division, the Removing
8} Party is hereby ORDERED TO SHOW CAUSE, no later than January 11, 2005, as to why the
9|| instant action should not be transferred to the United States District Court, or the United States

10|| Bankruptcy Court for the District of Arizona, Tucson Division.

11 IT IS SO ORDERED.

12

13] Dated this ~ day of January, 2005.

14

15 SY OT

SSdAMES OTERO

16 UNITED STATES DISTRICT JUDGE

17

18

19

20

21

22

23

24

25

26

27

28

 

 
